CaSe 2:05-cV-02365-.]DB-tmp Document 3 Filed 06/03/05 Page 1 of 3 Page|D 1

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IN THE UNITED STATES DISTRICT coURT
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GREATAMERICA LEASING

coRPoRATIoN,

Plaintiff,

VE.

Civ. No. 05-2365-BLP

BETH-REACH, INC., et al.,

Defendants.

 

ORDER DENYING WITHOUT PREJUDICE DEFENDANT’S MOTION TO WITHDRAW

 

Before the court is defendant Bethel AME Church's Motion to
Withdraw, filed May 27, 2005. A review of the record shows that
defendant did not comply with Local Rule 83.l(h} which states that

no attorney of record may withdraw in any case
except on written motion and court order. All
motions for leave to withdraw shall include
the reasons requiring withdrawal and the name
and address of any substitute counsel. If the
name of substitute counsel is not known, the
motion shall set forth the name, address and
telephone number of the client, as well as the
signature of the client approving the
withdrawal or a certificate of service on the
client. Ordinarily, withdrawal will not be
allowed if withdrawal will delay the trial of
the action.

This document entered on the docket §heet in compliance
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Therefore, defendant’s motion is DENIED, without prejudice. The

defendant may renew its motion by complying with Local Rule

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83.l(h).

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge
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Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02365 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

